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 7                                 UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           Misc. No. 2:14-MC-0020-GEB-CKD
11               Plaintiff and Judgment Creditor,        Case No. 2:09-CR-0066-GEB
12   v.                                                  FINAL ORDER OF GARNISHMENT
                                                         [BANK ACCOUNTS] AND ORDER
13   VERONIKA WRIGHT,                                    SETTING TIME TO OBJECT TO ANSWER
                                                         [SAFE DEPOSIT BOX]
14               Defendant and Judgment Debtor.
15
     BANK OF AMERICA, N.A.,
16
                                       Garnishee.
17

18

19          The United States’ has filed an application for an order regarding its garnishment action
20 against the defendant, Veronika Wright’s accounts at the Bank of America, N.A. (the Application).

21 First, the United States seeks a final order of garnishment liquidating the two bank accounts

22 Defendant maintains with her husband, Mitchell Wright, and payment of those funds to the United

23 States. Second, the United States seeks an order setting the time within which Defendant’s in-laws,

24 Judith and Robert Wright, may file an objection and request a hearing to Bank of America’s answer

25 to the writ of garnishment concerning Defendant’s safe deposit box.
26          Having considered the Application and case file, the Court finds as follows:
27 ///

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29 ORDER                                             1
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                Case 2:09-cr-00066-GEB Document 223 Filed 06/18/14 Page 2 of 3



 1          1. With respect to Defendant and her husband’s Bank of America accounts ending in numbers

 2 1329 and 8715, all funds in the accounts are subject to California’s community property laws and all

 3 conditions to the issuance of a final order of garnishment against Defendant’s bank accounts are

 4 satisfied.

 5          2. With respect to Defendant’s safe deposit box, Defendant and her husband have failed to

 6 timely object to, or seek a hearing concerning the garnishment action. Defendant’s in-laws, Judith and

 7 Robert Wright, however, were identified by Bank of America as having a potential interest in the safe

 8 deposit box, but were not served a copy of the Bank’s answer to garnishment identifying the in-laws’
 9 potential interest.

10          ACCORDINGLY, the Court hereby ORDERS, ADJUDGES and DECREES as follows:

11          1. The United States’ application for a final order of garnishment liquidating Defendant’s two

12 bank accounts maintained at garnishee, Bank of America, N.A., is GRANTED.

13          2. Bank of America shall DELIVER, within twenty (20) days of the date of this Order, a

14 cashier’s check, money order or company draft for the entire balances contained in the accounts under

15 the names of Veronika Wright and Mitchell Wright ending in the numbers 1329 and 8715, and made

16 payable to the “Clerk of the Court” at the Office of the Clerk, United States District Court, Eastern

17 District of California, 501 I Street, Suite 4-200, Sacramento, California 95814. Bank of America shall

18 also state the docket number (Case No.: 2:09 CR-0066 GEB) on the payment instrument and, if Bank

19 of America desires a payment receipt, shall include a self-addressed, stamped envelope with the
20 payment.

21          3. With respect to Defendant’s safe deposit box, neither Defendant nor her husband have filed

22 objections to the Bank of America’s answer regarding the safe deposit box and, consequently, have

23 waived their right to object to or seek a hearing concerning its garnishment. Judith and Robert Wright,

24 however, identified by the Bank of America as potential interest holders in the box’s contents, have

25 twenty (20) days from the date of service of this order to object in writing to, and request a hearing
26 regarding the United States’ garnishment action against the safe deposit box. If Judith and Robert

27 Wright fail to timely object as set forth herein, the United States shall promptly submit a proposed

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29 ORDER                                             2
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             Case 2:09-cr-00066-GEB Document 223 Filed 06/18/14 Page 3 of 3



 1 final order of garnishment of the safe deposit box to Court. Plaintiff United States shall serve a copy

 2 of this order on Defendant’s in-laws, Judith and Robert Wright.

 3          IT IS SO ORDERED.

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     Dated: June 17, 2014
 5                                                  _____________________________________
 6                                                  CAROLYN K. DELANEY
                                                    UNITED STATES MAGISTRATE JUDGE
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29 ORDER                                             3
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